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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF MISSOURI
                            SOUTHEASTERN DIVISION

THE STATE OF MISSOURI,          )
                                )
        Plaintiff,              )
                                )
        v.                      )                     Case No. 1:20-cv-00099-SNLJ
                                )
THE PEOPLE’S REPUBLIC OF CHINA, )
et al.,                         )
                                )
        Defendants.             )

                          DECLARATION OF JACKIE M. KINDER

       I, Jackie M. Kinder, of St. Louis, Missouri, declare as follows:

       1.      I am an attorney at law, duly admitted to practice before the Courts of the State of

Missouri and the United States District Court for the Eastern District of Missouri. I am the attorney

for Amicus Curiae, The China Society of Private International Law. Except as otherwise expressly

stated to the contrary, I have personal knowledge of the following facts and, if called as a witness,

I could and would competently testify as follows:

       2.      I have researched whether service via electronic mail is permitted under the law of

the People’s Republic of China (“PRC”). I located an English language version of the Civil

Procedure Law of the PRC (amended in 2021), from PKULAW.com, a commercial Chinese legal

authorities database. A true and correct copy of the relevant pages is attached hereto as Exhibit 1.

Chapter 7, Section 2, of the Civil Procedure Law governs service of process upon persons with

domicile within the territory of the PRC. I am informed and believe that under the Civil Procedure

Law, service via electronic mail is not permitted in China, except where the party to be served

consents. In addition, Article 284 of the law provides that, with an exception irrelevant here, no




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foreign authority or individual shall serve process within the territory of the PRC without

permission from the competent authorities of the PRC.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

       Executed on this the 14th day of February 2022 at St. Louis, Missouri.



                                            /s/ Jackie M. Kinder
                                            Jackie M. Kinder
                                            Counsel for Amicus Curiae,
                                            The China Society of Private International Law




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